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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                       March 16, 2022
                    UNITED STATES DISTRICT COURT
                                                                     Nathan Ochsner, Clerk
                     SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

UNITED STATES OF AMERICA  §
                          §
VS.                       § CRIM ACTION NO. 3:21-cr-24
                          §
ALEXANDER MICHAEL HOFFMAN §


                                  ORDER

      The court has considered the third unopposed motion for a

continuance, wherein counsel for the defendant, Alexander Michael

Hoffman, has represented that more time is needed to receive, review, and

evaluate the evidence gathered against the defendant; meet with the

defendant and prepare a defense, and prepare mitigation, so as to provide

effective representation on this case; and to meet with the Federal Bureau of

investigation in regards to electronic material gathered as evidence for this

case, and that failure to grant a continuance would result in a miscarriage of

justice. Dkt. 24.

      Based on the representations made in the motion, the court finds that

the ends of justice served by granting a continuance outweigh the best

interest of the public, as well as the defendant, to a speedy trial. The Court

also finds that pursuant to Title 18 U.S.C. § 3161(h)(7)(A) & (B), failure to


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grant a continuance would result in a miscarriage of justice, and that a

continuance is necessary to allow reasonable time for trial preparation.

      The motion is therefore granted. It is hereby ordered that a period of

excludable delay shall commence on March 15, 2022, pursuant to Title 18

U.S.C. § 3161(h)(7)(A) & (B). The period of excludable delay shall end at

commencement of trial or disposition of charges.

Pretrial motions shall be filed by June 20, 2022.

Responses shall be filed by June 27, 2022.

A pretrial conference is set for Thursday, June 30, 2022 at 10:30 am.

Trial in this case is set for Monday, July 11, 2022 at 9:00 am.

      Signed on Galveston Island this 16th day of March, 2022.



                                     ___________________________
                                     JEFFREY VINCENT BROWN
                                     UNITED STATES DISTRICT JUDGE




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